                                                    Case 18-19122-RBR                                          Doc 2    Filed 07/27/18                Page 1 of 3


               Fill in this ¡nformation to identify the case

               Debtor name I t^/êet aâñitâl I lll

               Un¡ted States Bankruptcy Çourt for the Southern District of Flor¡da
               Case number (lf known):                                                                                                                                                  Ü    Cfrecf if this is an
                                                                                                                                                                                             amended filing




         Official Form 204
         Ghapter 11 or Ghapter 9 Gases: List of Greditors Who Have the 2O Largest
         Unsecured Glaims and Are Not lnsidersl                                                                                                                                                                       12t11


         A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. lnclude claims which the debtor disputes. Do
         not include claims by any person or entity who is an lnsrder, as defined in 1 1 U.S.C. S 1 01 (31). Also, do not include claims by secured creditors, unless
         the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.


          Name of creditor and complete                          Name, telephone number, and                     Nature of the   clalm lndicate lf              Amount of unsecured claim
          mailing address, lncluding zip code                    email address of creditor                       (for example, trade claim is                   lf the claim is fully unsecured, fill in only unsecured
                                                                 contact                                         debts, bank loans, contingent,                 claim amount. lf claim is partially secured, f¡ll ¡n
                                                                                                                 professional           unliquldated,           total claim amount and deduction for value of
                                                                                                                       and
                                                                                                                 services,              or disputed             collateral or setoff to calculate unsecured claim.
                                                                                                                 government
                                                                                                                 contracts)
                                                                                                                                                                Total cla¡m,   if   Deduct¡on for       Unsecured
                                                                                                                                                                partially           valuê of            clalm
                                                                                                                                                                secured             collateral or
                                                                                                                                                                                    sêtoff

              Christopher Blackstone                             Christopher Blackstone                                                                                                                 $t,754,902.75
              19630 Southern Hills Avenue                        cw_þ-l-¿$lsl-frlc:oxJt-c-t                                                             I



              Baton Rouge, LA 70809


              JarnesA. Lochtefeld                         James        A. Lochtefeld                                                                                                                    $   r,484,687.s0
    2
              8521 E 700 S                                   i   al0chtel'cld(?ernail. cortr
              Union City, IN 47390


              Russell Rasner and KirnberlY Ann            Russell Rasner and Kirnberly Ann                                                                                                              $   l,06s,240.08
    .l
              Rasner Joint Living Trust dtd l0-3-17       Rasner
              13241 Wood Duck Dr.                         630-s67 -6652
.
              Plainfield,   IL   60585                    lras n ollij) oo m c as t. nel
                                                          kimrasner@conlcast.net



              Snow Flakes Ltd
                                                                                                                                                        I
                                                                                                                                                        ,
                                                                                                                                                                                                            $962,6 10.35
    4
              20165 NE 39 Place
              Aventura, FL 33180
                                                                                                                                                        I




              Geoffrey Liptran                            Geoffrey Lipman                                                                                                                                   s947,635.44
              5 Arthur Grumiaux                           gltgnqn(¡guail.som
              1640 Rhode Saint Genese
          .   Brussels, Belgium

              Frank Rimi IRA                                 Frank Rimi                                                                                                                                     s92r,608.47
    6                                                                                                                                                       j

              355 Lake George Rd.                            248-8 14-0583
              Oakland, MI 48363                              ad d ì s ou-oakslgìyah oo. ctrnt
:


                                                                                                                                                            I

''7           Steven Ross Shelton IRA                            Steven Ross Shelton                                                                                                                        $861 ,95 I .02
              6425 Seaside Dr.                                   sfev e69 0 48@y alroo. com
I

              Loveland, CO 80538


    B         Riohard and Cyrrthia Davis                         Richard and Cynthia Davis                                                                                                                  $ 859,9 7 .20
               1008 FIwy    K                            r       636-978-3800
              O Fallon,     MO    63366                          lærn iç.þ,¿-rslJeþ asics(ì gn:"ai   l,.   o
                                                                 ol] ì
                                                   Case 18-19122-RBR                              Doc 2   Filed 07/27/18       Page 2 of 3
        Dêbtor           1 Wêst   Câoitâl LLC                                                             Case number
                      Nâme



I         Kara H. May IRA                                     KaraH. May                                                                           $840,s53.06
          120 Santee Way                                      865,408-0698
          Loudon,'fN 377744123                                conesnondence20 I 7(âsmail.
                                                              com

1   0     Christopher Shealy IRA                              Christopher Shealy                                                                   s795,077.26
          1017 Leah Dr.                                       224.223-4294
          Cary,IL    60013                                    chriss.healy@qsn.co$


11        Stephen F, Sawa IRA                                 Stephen F, Sawa                                                                      $789,7r 8.90
          552 Canington Blvd.                                 856.503-4699
          LenoirCity,TN       37771                           sßawa@hotnlail.com


I2        Estate of Lloyd Ralph Albers                                                                                                             s787,743.2s
          212 Long Bow Rd.                                    865.607-ó889
          Knoxville, TN 37934                                 lealbersôaol.com


I3        Diversifred Holdings LTD                                                                                                                 $784,08 t .35
          17822l7th Street, Suite 208                         cassiusholdinss@smail.com
          Tustin,   CA   92780


    4     Allsn G. Meek IRA                                   Allen G. Meek                                                                        $7s9,613.79
          PO Box l29l                                         865-712-1429
          Seymour,   TN     37865                             al   lenp.meeklúìsmai   l.   com


    5     Khosrow Sohraby IRA                                 Khosrow Sohraby                                                                      $731,017,70
          l3 172 Connell Drive                                913-815-l r47
          Overland Park, KS 66213                             ksoh{aby@Jahoo.cont


1   6     Donald Steo IRA                                     Donald Stec                                                                          s728,1s0,72
          2609 Oleander Way                                   609-410-5606
          Knoxville, TN 37931                                 donald. stec@l ibertyntutual. co
                                                              m

    7     Charles Carpenter and Patri0ia                      Charles Carpenter and                                                                s682,563.44
          Carpenter                                           Patricia Carpenter
          299 Cardinal Street                                     865-977-8201
          Maryville, TN 37803                                 caroenøchartertn.net

1   I     Lilia A. Bautista IRA                               Lilia A. Bautista                                                                    s677,n7.20
          604 Crestwioke Ln                                       865-679-1053
          Knoxville, TN 37934                                     lilbautistalâaol.com


19                Carpenter IRA                               Charles Carpenter                                                                    s641,169.07
          299 Cardinal Street                                     865-977-820t
          Maryville, TN 37803                                     charlev-camenter(Aarcon ic.co
                                                              !u

20        Edward c. smith IRA 749199                              Edward C. Smith                                                                  $621,409.00
          3137 Hollingworth                                       909-s95.8678
          Wost Covina, CA 91792                                   hvhone2000lâaol. cotn.
                                                                  admin6)aaishares. com.
                                                                  admin@davidortizadvisor. co


       This List of Creditors Who Have the 20 Largest Unsecured Claims was prepared on a consolidated basis among all of the Debtors
    identified on Schedule I




                                                              I   or Chapter 9 Cases; List of Greditors Who Have the 20 Largest Unsecured Claims
                                                                                                                                                    page2
        officialForm 204                        Chapter   1
                                                Case 18-19122-RBR                    Doc 2             Filed 07/27/18         Page 3 of 3

 Fill in this information to identify the case and this f¡ling


 Debtor Name I       \À.lest   lÌ¡nifal   IIC

 United States Bankruptcy Court for the Southern Þistlict of Florida
 Case number (/fknown)l




Official Form 202
Declaration Under Penalty of Periury for Non-lndividual Debtors                                                                                                   12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual's position or relationship to the debtor, the identity of           the       document, and the date. Bankruptcy Rules '1 008 and
901 1.

WARNING      Bankruptcy fraud is a serious crime, Making a false statement, concealing property, or obtaining money or property by fraud
               -                                                                                                                                           in   connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. SS f 52, 1 341 , 151 9, and 3571 .



               Declaration and signature


         I am    the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
             serving as a representative of the debtor in th¡s case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



         tr        Schedule A/8r Assefs-Real and Personal Propefty (Official Form 2064/8)

         Ü         Schedule D: Credítors Who Have Claims Secured by Propeñy (Official Form 2O6D)

         t¡        Schedule       üF:     Credítors Who Have Unsecured C/arrns (Official Form 2068/F)


         t]        Schedule G: Executory Contracts and lJnexpired Leases (Official Form 206G)


         I         Schedule       H: Codebtors (Official Form 2OOH)

         t]        Summary of Assets and Liabitities for Non-lndividuals (Official Form 206Sum)

         D      Amended Schedute

         Ø         Chapter 11 or Chapter         I   Cases; Llsf of Cre ditors Who Have the 20 Largest lJnsecured Claims and Are Nof /nsrders (Official Form 204)


         E      Oth", document that requires a



         I   declare under penalty of perjury that the foregoing is true and correct.


         Executed on            0          c         0
                                 MM/DD/YYYY                                  Signature of individual             of debtor




                                                                              Darice Lan
                                                                                    name


                                                                             Authorized Signatory
                                                                            Pos¡tion or relationship to debtor


               Official Form 202                                       Declaration Under Penalty of Perjury for NonJndividual Debtors
